Case 18-11452-lrc       Doc 48    Filed 09/01/21 Entered 09/01/21 13:04:13            Desc Main
                                  Document      Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: September 1, 2021
                                                           _____________________________________
                                                                      Lisa Ritchey Craig
                                                                 U.S. Bankruptcy Court Judge

 _______________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                NEWNAN DIVISION

IN RE:                          :
                                :
TIFFANY MARIE PARSON            :    CHAPTER 13
                                :
           Debtor.              :    CASE NO.: 18-11452-lrc
=====================================================================



                    CONSENT ORDER APPROVING DEBTOR’S
                  MOTION TO APPROVE SALE OF REAL PROPERTY

         TIFFANY MARIE PARSON Debtor in the above styled Chapter 13 case, by and through

undersigned counsel, filed her Motion to Approve Sale of Real Property (the “Motion”) on July

21, 2021 (Doc. No. 45) seeking authority to sell the real property located at 38 Marie Place, Villa

Rica, GA 30180 (the “Property”). The Property is currently subject to one mortgage lien. All

interested parties have been served with the Motion, and none filed any opposition.
Case 18-11452-lrc        Doc 48     Filed 09/01/21 Entered 09/01/21 13:04:13             Desc Main
                                    Document      Page 2 of 3



         The Court held a hearing on the Motion on August 26, 2021. Debtor was represented by

Howard Slomka, Esq. and Chapter 13 Trustee was represented by Kelsey A. Makeever, Esq. No

other appeared in opposition to the Motion. It appears that there is adequate equity in the Property

to pay off the Chapter 13 Plan in full after satisfying the mortgage. It is therefore

          ORDERED that the Motion is GRANTED and the Debtor may sell the Property and

disbursements made as described in the Motion. Debtor’s counsel shall deliver a signed copy of

the closing statement to the Chapter 13 Trustee within ten (10) days of the closing. All parties,

buyers, and closing counsel are entitled to rely upon this order in closing the sale of the Property

without further approval of this Court. It is further

         ORDERED that the closing attorney is to directly remit 16,145.09 to the Chapter 13

Trustee by check at the mailing address provided below for the Chapter 13 Trustee. The check

should be made payable to Melissa J. Davey. These funds are to be distributed by the Trustee,

less the Trustee’s statutory fee, to pay all claims in full pursuant to the terms of the confirmed

Chapter 13 Plan. It is further

         ORDERED that the FIFA filed by Midland Funding, LLC Successor in Interest to Credit

One Bank, N.A. vs. Tiffany Parson recorded 5/2/2018 in Lien Book 201, Page 637, Carroll County,

Georgia has been avoided in accordance with the terms of the confirmed Plan in this case, and is

no longer a secured claim.

         ORDERED that the Closing Statement shall contain a fee payable to Debtor’s counsel in

the amount of $1,250.00.

         ORDERED that the commission payable to Listing broker Martha Edwards shall be

remitted to Debtor’s counsel to hold in trust until said broker is approved by an Order from this

Court.                                 [End of Order]
Case 18-11452-lrc        Doc 48     Filed 09/01/21 Entered 09/01/21 13:04:13   Desc Main
                                    Document      Page 3 of 3




                                                   Prepared by:

                                                   ________/s/________
                                                   Howard Slomka, Esq.
                                                   GA Bar #652875
                                                   Attorney for Debtor
                                                   Slipakoff and Slomka, PC
                                                   6400 Powers Ferry Road NW
                                                   Suite 391
                                                   Atlanta, GA 30339
                                                   (404) 800-4001


CONSENT BY:
/s/__________________
Kelsey A. Makeever, Esq.
Georgia Bar No. 371499
Melissa J. Davey
Chapter 13 Trustee
260 Peachtree Street, N.E.
Suite 200
Atlanta, GA 30303
Attorney for Chapter 13 Trustee



Distribution List:

All creditors and parties in interest
